     Case 1:25-cv-01051-EGS     Document 21      Filed 05/04/25      Page 1 of 23




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
CITIZENS FOR RESPONSIBILITY          )
AND ETHICS IN WASHINGTON,            )
                                     )
            Plaintiff,               )
                                     )
                    v.               )   Civil Action No. 25-cv-1051
                                     )
OFFICE OF MANAGEMENT AND             )
BUDGET, et al.,                      )
                                     )
            Defendants.              )
                                     )

REPLY MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR A
    PRELIMINARY INJUNCTION AND PARTIAL SUMMARY JUDGMENT


                                     Wendy Liu (DC Bar No. 1600942)
                                     Adina H. Rosenbaum (DC Bar No. 490928)
                                     Allison M. Zieve (DC Bar No. 424786)
                                     Public Citizen Litigation Group
                                     1600 20th Street NW
                                     Washington, DC 20009
                                     (202) 588-1000
                                     wliu@citizen.org

                                     Nikhel S. Sus (DC Bar No. 1017937)
                                     Yoseph T. Desta (DC Bar No. 90002042)*
                                     Citizens for Responsibility and Ethics in Washington
                                     1331 F Street NW, Suite 900
                                     Washington, DC 20004
                                     (202) 408-5565
                                     nsus@citizensforethics.org
                                     ydesta@citizensforethics.org

                                            *admitted pro hac vice

                                     Counsel for Plaintiff

May 4, 2025
          Case 1:25-cv-01051-EGS                         Document 21                Filed 05/04/25               Page 2 of 23




                                                    TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................................... ii

INTRODUCTION .......................................................................................................................... 1

ARGUMENT .................................................................................................................................. 2

I.    CREW has standing. ................................................................................................................ 2

II. Defendants’ removal of the Public Apportionments Database is unlawful. ........................... 7

      A.      Defendants’ removal of the database violates the 2023 Act. .......................................... 7

      B.      Defendants violated the Paperwork Reduction Act. ..................................................... 11

III. If the Court does not enter partial summary judgment for CREW, a preliminary injunction
     is warranted. .......................................................................................................................... 12

      A.      CREW is suffering ongoing irreparable harm. ............................................................. 13

      B.      The balance of the equities supports a preliminary injunction. .................................... 15

IV. A security bond would be inappropriate in this case. ............................................................ 16

CONCLUSION ............................................................................................................................. 16




                                                                       i
         Case 1:25-cv-01051-EGS                         Document 21               Filed 05/04/25              Page 3 of 23




                                               TABLE OF AUTHORITIES

Cases                                                                                                                              Pages

*Campaign Legal Center v. Federal Election Commission,
  31 F.4th 781 (D.C. Cir. 2022) ............................................................................................. 2, 4, 5

*Campaign Legal Center & Democracy 21 v. Federal Election Commission,
  952 F.3d 352 (D.C. Cir. 2020) (per curiam) ........................................................................... 2, 3

Clinton v. City of New York,
  524 U.S. 417 (1998) .................................................................................................................... 8

Competitive Enterprise Institute v. National Highway Traffic Safety Administration,
  901 F.2d 107 (D.C. Cir. 1990) .................................................................................................... 5

*Citizens for Responsibility & Ethics in Washington v. Federal Election Commission,
  2023 WL 6141887 (D.D.C. Sept. 20, 2023) ............................................................................... 3

*Citizens for Responsibility & Ethics in Washington v. United States DOGE Service,
  -- F. Supp. 3d ---, 2025 WL 752367 (D.D.C. Mar. 10, 2025) .................................................. 13

*Citizens for Responsibility & Ethics in Washington v. United States Postal Service,
  557 F. Supp. 3d 145 (D.D.C. 2021) .......................................................................................... 10

Department of Education v. Brown,
  600 U.S. 551 (2023) .................................................................................................................... 2

*Doctors for America v. Office of Personnel Management,
  -- F. Supp. 3d ---, 2025 WL 452707 (D.D.C. Feb. 11, 2025) ................................................... 13

DSE, Inc. v. United States,
  169 F.3d 21 (D.C. Cir. 1999) .................................................................................................... 16

Electronic Privacy Information Center v. Presidential Advisory Commission on Election
  Integrity,
  266 F. Supp. 3d 297 (D.D.C. 2017) ............................................................................................ 6

Environmental Defense Fund v. EPA,
  922 F.3d 446 (D.C. Cir. 2019) ................................................................................................ 3, 4

*Federal Election Commission v. Akins,
  524 U.S. 11 (1998) .................................................................................................................. 2, 5

Friends of Animals v. Jewell,
  828 F.3d 989 (D.C. Cir. 2016) ............................................................................................ 2, 3, 4

Friends of Animals v. Salazar,
  626 F. Supp. 2d 102 (D.D.C. 2009) ............................................................................................ 5
                                                                     ii
         Case 1:25-cv-01051-EGS                         Document 21               Filed 05/04/25              Page 4 of 23




Harrington v. Bush,
  553 F.2d 190 (D.C. Cir. 1977) .................................................................................................... 9

Immigration & Naturalization Service v. Chadha,
  462 U.S. 919 (1983) .................................................................................................................... 8

Kendall v. United States ex rel. Stokes,
  37 U.S. (12 Pet.) 524 (1838) ....................................................................................................... 8

League of Women Voters of United States v. Newby,
  838 F.3d 1 (D.C. Cir. 2016) ...................................................................................................... 14

National Association of Diversity Officers in Higher Education v. Trump,
  -- F. Supp. 3d ---, 2025 WL 573764 (D. Md. Feb. 21, 2025) ................................................... 16

National Council of Nonprofits v. Office of Management & Budget,
  -- F. Supp. 3d. ---, 2025 WL 597959 (D.D.C. Feb. 25, 2025) .................................................. 16

National Environmental Development Association’s Clean Air Project v. Environmental
  Protection Agency,
  752 F.3d 999 (D.C. Cir. 2014) .................................................................................................. 11

National Treasury Employees Union v. Nixon,
  492 F.2d 587 (D.C. Cir. 1974) .................................................................................................... 8

Open Communities Alliance v. Carson,
  286 F. Supp. 3d 148 (D.D.C. 2017) .......................................................................................... 15

P.J.E.S. ex rel. Escobar Francisco v. Wolf,
  502 F. Supp. 3d 492 (D.D.C. 2020) .......................................................................................... 16

Pacito v. Trump,
  -- F. Supp. 3d ---, 2025 WL 893530 (W.D. Wash. Mar. 24, 2025) .......................................... 16

Payne Enterprises v. United States,
  837 F.2d 486 (D.C. Cir. 1988) .................................................................................................. 13

Protect Democracy Project, Inc. v. National Security Agency,
  10 F.4th 879 (D.C. Cir. 2021) ..................................................................................................... 9

*Public Citizen v. Department of Justice,
  491 U.S. 440 (1989) ................................................................................................................ 2, 5

Public Citizen, Inc. v. National Highway Traffic Safety Administration,
  489 F.3d 1279 (D.C. Cir. 2007) .................................................................................................. 5

Reporters Committee for Freedom of the Press v. Federal Bureau of Investigation,
  3 F.4th 350 (D.C. Cir. 2021) ..................................................................................................... 10

                                                                    iii
          Case 1:25-cv-01051-EGS                         Document 21                Filed 05/04/25               Page 5 of 23




Sackett v. Environmental Protection Agency,
  566 U.S. 120 (2012) .................................................................................................................. 11

Sai v. Transportation Security Administration,
  54 F. Supp. 3d 5 (D.D.C. 2014) ................................................................................................ 13

Spokeo, Inc. v. Robins,
  578 U.S. 330 (2016) .................................................................................................................... 2

TransUnion LLC v. Ramirez,
  594 U.S. 413 (2021) .................................................................................................................... 5

United States Department of Justice v. Julian,
   486 U.S. 1 (1988) .................................................................................................................... 10

United States Department of Navy v. Federal Labor Relations Authority,
  665 F.3d 1339 (D.C. Cir. 2012) .................................................................................................. 9

*United States Fish & Wildlife Service v. Sierra Club, Inc.,
  592 U.S. 261 (2021) .................................................................................................................. 10

United States v. Arthur Young & Co.,
  465 U.S. 805 (1984) .................................................................................................................. 10

United to Protect Democracy v. Presidential Advisory Commission on Election Integrity,
  288 F. Supp. 3d 99 (D.D.C. 2017) .............................................................................................. 3

*Widakuswara v. Lake,
  2025 WL 945869 (S.D.N.Y. Mar. 28, 2025) .............................................................................. 8

Constitutional Provisions

U.S. Const. art. I, § 1....................................................................................................................... 8

U.S. Const. art. II, § 3 ..................................................................................................................... 8

Statutory Provisions

15 U.S.C. § 78n(c) .......................................................................................................................... 6

29 U.S.C. § 1024(b) ........................................................................................................................ 6

29 U.S.C. § 1025(a) ........................................................................................................................ 6

31 U.S.C. § 331(e)(1) .................................................................................................................... 15

31 U.S.C. §§ 1517–19 ................................................................................................................... 10

42 U.S.C. § 11001 et seq................................................................................................................. 6

                                                                      iv
          Case 1:25-cv-01051-EGS                           Document 21                 Filed 05/04/25                Page 6 of 23




*Consolidated Appropriations Act, 2022
  (codified at 31 U.S.C. § 1513 note) ...................................................................................... 7, 11

*Consolidated Appropriations Act, 2023
  (codified at 31 U.S.C. § 1513 note) ................................................ 1, 3, 5, 7, 8, 9, 10, 11, 12, 15

Digital Accountability and Transparency Act of 2014,
  31 U.S.C. § 6101 note ................................................................................................................. 9

Federal Advisory Committee Act,
  5 U.S.C. § 1001 et seq. ............................................................................................................... 6

Federal Election Campaign Act,
  52 U.S.C. § 30101 et seq. ........................................................................................................... 6

Federal Funding Accountability and Transparency Act,
  Pub. L. 109–282, 120 Stat. 1186 (2006) ..................................................................................... 9

Freedom of Information Act,
  5 U.S.C. § 552............................................................................................................... 4, 6, 7, 14

Government in the Sunshine Act,
  5 U.S.C. § 552b ........................................................................................................................... 6

*Paperwork Reduction Act,
  44 U.S.C. § 3506......................................................................................................... 1, 3, 11, 12

Other Authorities

MAX Information and Reports (Executive, Legislative, and Judicial Users): FY 2025 - SF 133
 Reports on Budget Execution and Budgetary Resources.......................................................... 14

Office of Management & Budget, Annual Freedom of Information Act Report for Fiscal Year
  2023 ............................................................................................................................................ 5

U.S. Department of the Treasury, Financial Report of the United States Government:
   Fiscal Year 2024 ...................................................................................................................... 15

Wright & Miller, 23A Fed. Prac. & Proc. Evid. § 5437 (1st ed. Apr. 2025 update) .................... 10




                                                                         v
       Case 1:25-cv-01051-EGS          Document 21        Filed 05/04/25     Page 7 of 23




                                       INTRODUCTION

       Defendants Office of Management and Budget (OMB) and its Director Russell Vought

concede that they are violating the law. They agree that their removal of a database with documents

reflecting OMB’s apportionment decisions, including footnotes and written explanations (the

Public Apportionments Database) violates the Consolidated Appropriations Act, 2023 (2023 Act).

And they do not dispute that their removal of that database violates the Paperwork Reduction Act’s

requirements to provide timely access to public information and to provide adequate notice before

removing the information.

       Defendants instead assert that their action does not injure plaintiff Citizens for

Responsibility and Ethics in Washington (CREW). But CREW’s declaration shows that the

challenged action has caused CREW to suffer a quintessential informational injury. As for the

merits, Defendants’ position that the Executive Branch is not required to comply with the 2023

Act and the Paperwork Reduction Act should be resoundingly rejected. Defendants’ policy

disagreement with the 2023 Act’s disclosure requirements provides no basis for their refusal to

follow the law, and their assertion that the statute impermissibly intrudes on Executive power runs

flatly contrary to the division of powers at the heart of our constitutional system. Defendants’

contention that the apportionment information is shielded by the deliberative process privilege

likewise lacks merit, both because the statute does not provide an exception for deliberative

material and because the apportionment information reflects final decisions, not predecisional

deliberations.

       Because there are no disputed material facts and the merits are clear, this Court should

grant partial summary judgment on CREW’s Administrative Procedure Act (APA) claims that

Defendants’ removal of the Public Apportionments Database is contrary to law. In the alternative,



                                                1
       Case 1:25-cv-01051-EGS           Document 21        Filed 05/04/25      Page 8 of 23




the Court should grant a preliminary injunction because CREW is correct on the merits, CREW is

suffering irreparable harm from Defendants’ action, and the balance of the equities and public

interest weigh decisively in CREW’s favor.

                                          ARGUMENT

I.      CREW has standing.

        To establish standing, a plaintiff must show injury in fact, causation, and redressability.

Campaign Legal Ctr. v. FEC, 31 F.4th 781, 788–89 (D.C. Cir. 2022). All three requirements are

met here: CREW has suffered and continues to suffer a concrete injury by being deprived of the

information in the Public Apportionments Database. The injury is fairly traceable to Defendants’

decision to remove the database. And a ruling that Defendants’ action is contrary to law and

enjoining their removal of the database would redress CREW’s injury by restoring its access to

the information. Arguing that CREW has not suffered injury in fact, Defendants challenge only

the first prong.

        A. “[A]n injury in fact” must be “concrete and particularized and actual or imminent, not

conjectural or hypothetical.” Dep’t of Educ. v. Brown, 600 U.S. 551, 561 (2023) (cleaned up).

“The existence and scope of an injury for informational standing purposes is defined by Congress:

a plaintiff seeking to demonstrate that it has informational standing generally ‘need not allege any

additional harm beyond the one Congress has identified.’” Friends of Animals v. Jewell, 828 F.3d

989, 992 (D.C. Cir. 2016) (quoting Spokeo, Inc. v. Robins, 578 U.S. 330, 342 (2016); citing FEC

v. Akins, 524 U.S. 11 (1998), and Public Citizen v. DOJ, 491 U.S. 440 (1989)). Rather, as the D.C.

Circuit has repeatedly stated, “[t]he law is settled that a denial of access to information qualifies

as an injury in fact where a statute … requires that the information be publicly disclosed and there

is no reason to doubt [plaintiffs’] claim that the information would help them.” Campaign Legal

Ctr., 31 F.4th at 783 (quoting Campaign Legal Ctr. & Democracy 21 v. FEC, 952 F.3d 352, 356
                                                 2
       Case 1:25-cv-01051-EGS           Document 21        Filed 05/04/25      Page 9 of 23




(D.C. Cir. 2020) (per curiam)); Env’t Def. Fund v. EPA, 922 F.3d 446, 452 (D.C. Cir. 2019)

(quoting Friends of Animals, 828 F.3d at 992) (same).

       For example, in Campaign Legal Center & Democracy 21 v. FEC, the D.C. Circuit found

that the plaintiffs were injured by the Federal Election Commission’s failure to disclose campaign

spending information as mandated by statute, where disclosure “would further [the nonprofit

organizations’] efforts to defend and implement campaign finance reform.” 952 F.3d at 356.

Similarly, in Environmental Defense Fund v. EPA, the court held that an environmental group had

raised a “quintessential claim of informational standing” where the statutorily mandated public

disclosure of chemical information would “promote [the group’s] environmental interests,

research, and educational activities.” 922 F.3d at 452. And “courts in this district … have conferred

standing to ‘groups who, like CREW, engage in a number of … activities—including public

education, litigation, administrative proceedings, and legislative reform efforts—where the

sought-after information would likely prove useful.’” CREW v. FEC, 2023 WL 6141887, at *5

(D.D.C. Sept. 20, 2023); see also United to Protect Democracy v. Presidential Advisory Comm’n

on Election Integrity, 288 F. Supp. 3d 99, 107–08 (D.D.C. 2017) (finding standing to challenge

non-disclosure of voting data that would have facilitated nonprofits’ advocacy, research, and

public education efforts on democracy issues).

       Here, the 2023 Act and the Paperwork Reduction Act indisputably require public disclosure

of the information that CREW seeks. See 2023 Act (codified 31 U.S.C. § 1513 note); see also

Paperwork Reduction Act, 44 U.S.C. § 3506. Defendants agree, stating that these statutes “require

the government’s disclosure of information to the public at large.” Defs. Opp. 14. Although

Defendants note that the statutes “do not require disclosure of information to CREW,” id.

(emphasis added), no such individualized entitlement to disclosure is needed. See Campaign Legal



                                                 3
      Case 1:25-cv-01051-EGS           Document 21       Filed 05/04/25      Page 10 of 23




Ctr., 31 F.4th at 784 (statute required public disclosure of information on agency’s website, not

individualized disclosure to the plaintiff); Env’t Def. Fund, 922 F.3d at 452 (same).

       In addition, there is “no reason to doubt,” Campaign Legal Ctr, 31 F.4th at 783, that the

Public Apportionments Database helps CREW monitor and evaluate the Executive Branch’s use

of congressionally appropriated funds—a core part of CREW’s public education, legislative

policy, and litigation work. CREW typically accesses apportionment information as soon as it is

posted to the database and uses that information to analyze and inform the public about potential

misuses of public money. See Wentworth Decl. ¶¶ 6–10, 14. And its need to access the database

is particularly pressing now, because CREW relies on apportionment data to monitor and inform

the public about potential violations of the Impoundment Control Act and DOGE’s activities—

two matters of ongoing national concern. See id. ¶¶ 10–22. CREW specifically uses the

apportionment information to monitor potentially improper fund withholdings, to identify

potential abuses of apportionments, and to submit records requests under the Freedom of

Information Act (FOIA) for additional information. Id. ¶¶ 6–10, 16, 18, 20–21.

       Moreover, by being deprived of the apportionment information, CREW is “suffer[ing]

… the type of harm Congress sought to prevent by requiring disclosure,” Friends of Animals, 828

F.3d at 992—that is, to ensure that members of the public, including CREW, would not be kept in

the dark about government spending decisions. Defendants’ suggestion that CREW’s interest in

“act[ing] as a government watchdog” is not an interest that Congress sought to serve because it “is

distinct from providing the public with the apportionment materials directly” is meritless. Defs.

Opp. 15. CREW, like any other member of the public, has a statutory entitlement to the

information. And that CREW disseminates information to the public as part of its advocacy work

in monitoring government spending reinforces the concrete and particularized nature of the harm



                                                 4
      Case 1:25-cv-01051-EGS           Document 21            Filed 05/04/25   Page 11 of 23




it faces. See Friends of Animals v. Salazar, 626 F. Supp. 2d 102, 111 (D.D.C. 2009) (stating that

“[a]llegations of injury to an organization’s ability to disseminate information may be deemed

sufficiently particular for standing purposes where that information is essential to the injured

organization’s activities.” (quoting Competitive Enter. Inst. v. NHTSA, 901 F.2d 107, 122 (D.C.

Cir. 1990)).

       B. Citing TransUnion LLC v. Ramirez, 594 U.S. 413, 442 (2021), Defendants assert that

CREW must show “downstream consequences” from the deprivation of information. TransUnion,

however, specifically noted that the “case does not involve … a public-disclosure law.” 594 U.S.

at 441. And it distinguished Akins and Public Citizen, stating that “those cases involved denial of

information subject to public-disclosure or sunshine laws that entitle all members of the public to

certain information.” Id. Defendants’ reliance on TransUnion is thus misplaced here, where

CREW has suffered an informational injury based on its denial of access to information to which

it is entitled under a public disclosure law, the 2023 Act.

       Defendants also assert that CREW’s injury is a “generalized grievance” suffered by “all

members of the public.” Defs. Opp. 11 (quotation marks omitted). But “the fact that a number of

people could be similarly injured does not render the claim an impermissible generalized

grievance: ‘where a harm is concrete, though widely shared, the Court has found injury in fact.’”

Pub. Citizen, Inc. v. NHTSA, 489 F.3d 1279, 1292–93 (D.C. Cir. 2007) (quoting Akins, 524 U.S.

at 24); see Pub. Citizen, 491 U.S. at 449–50 (stating that “[t]he fact that other citizens or groups

of citizens” are also deprived of the information “does not lessen [the plaintiffs’] asserted injury,

any more than the fact that numerous citizens might request the same information under the

Freedom of Information Act entails that those who have been denied access do not possess a

sufficient basis to sue”); Campaign Legal Ctr., 31 F.4th at 789 (similar). Thus, “[p]lainly, the



                                                  5
      Case 1:25-cv-01051-EGS            Document 21         Filed 05/04/25      Page 12 of 23




[statute] entitles the public generally to the disclosure, but that does not mean that the informational

injury in this case is not particular to Plaintiff.” Elec. Priv. Info. Ctr. v. Presidential Advisory

Comm’n on Election Integrity, 266 F. Supp. 3d 297, 311 (D.D.C. 2017).

        Moreover, if taken seriously, Defendants’ position that the deprivation of information

required to be publicly disclosed is not a cognizable injury would call into question plaintiffs’

standing to challenge the denial of information under a number of statutes. For example, FOIA, 5

U.S.C. § 552, grants any person the right to obtain records from federal agencies. The Federal

Advisory Committee Act (FACA), 5 U.S.C. § 1001 et seq., creates similar rights of access to

information from committees that advise agencies. The Government in the Sunshine Act, 5 U.S.C.

§ 552b, provides a right of access to agency proceedings, and the Federal Election Campaign Act

(FECA), 52 U.S.C. § 30101 et seq., imposes reporting and disclosure requirements to provide

information to members of the public about sources of campaign funds tapped by candidates for

federal office, political parties, and political committees. Other statutes require employers to post

notices providing a variety of information to employees, 1 retirement plans to convey information

to beneficiaries,2 corporations to report information to shareholders, 3 and companies to provide

information about their use of toxic chemicals for the benefit of surrounding communities. 4

        Finally, Defendants’ cursory suggestion that CREW is not injured because it has “an

alternative source” for obtaining the information within the Public Apportionments Database is


        1
            See https://www.dol.gov/general/topics/posters (describing workplace posting
requirements of various federal statutes).
        2
          See, e.g., 29 U.S.C. §§ 1024(b) & 1025(a) (ERISA provisions requiring reporting of plan
and benefit information to plan participants).
        3
          See, e.g., 15 U.S.C. § 78n(c).
        4
          See, e.g., Emergency Planning & Community Right-to-Know Act, 42 U.S.C. § 11001 et
seq. (requiring companies to report inventories and releases of toxic chemicals and to provide
public access to material safety data sheets, and authorizing citizen suits to compel compliance).

                                                   6
      Case 1:25-cv-01051-EGS            Document 21        Filed 05/04/25      Page 13 of 23




wrong. Defs. Opp. 12. The information is not available on any other public government website.

Wentworth Decl. ¶¶ 9, 26; see also Defs. Counter-Statement of Material Facts (SOMF) at 5, ECF

No. 18-2. And requesting the information under FOIA—then receiving it a year later, 5 potentially

with redactions based on asserted FOIA exemptions—is in no way an adequate substitute for the

prompt and unqualified disclosure required by the 2023 Act. Indeed, Congress passed the

Consolidated Appropriations Act, 2022 (codified at 31 U.S.C. § 1513 note) (2022 Act) and the

2023 Act despite the existence of FOIA, reflecting the need for this independent statutory right to

timely access apportionment information within two business days.

II.    Defendants’ removal of the Public Apportionments Database is unlawful.

       A. Defendants’ removal of the database violates the 2023 Act.

       Defendants do not dispute that their removal of the Public Apportionments Database is

contrary to the 2023 Act. They agree that they removed public access to the database as of March

24, 2025. Defs. SOMF at 4. And they agree that the 2023 Act required OMB to provide public

access to such a database with apportionment information—specifically, “OMB’s documents

apportioning appropriations, associated footnotes, and written explanations for the associated

footnotes, not later than 2 business days after the date of approval of the apportionment.” Id. at 2;

see Defs. Opp. 15–16 (citing 31 U.S.C. § 1513 note).

       While Defendants concede their violation of a statute duly enacted by Congress and signed

by the President, they assert that they are not required to follow that law. This remarkable assertion

is based on their contentions that the 2023 Act is an “impermissible Congressional intrusion into




       5
          See OMB, Annual Freedom of Information Act Report for Fiscal Year 2023 at 13,
https://www.whitehouse.gov/wp-content/uploads/2024/01/Annual-FOIA-Report-for-Fiscal-Year-
2023.pdf (reporting that, for granted simple requests, average time for disclosing information is
close to one year).

                                                  7
      Case 1:25-cv-01051-EGS           Document 21        Filed 05/04/25      Page 14 of 23




Executive functions.” Defs. Opp. 16. Their attempt to place the Executive Branch above the law,

however, cannot be reconciled with the basic principle of separation of powers at the foundation

of our constitutional system. Defendants also contend that the deliberative process privilege

“foreclose[s]” the requirements of the 2023 Act. Id. at 22. The statute, however, does not except

deliberative material, and, moreover, the apportionment information here is not deliberative.

       1. The Framers of the Constitution “divide[d] the delegated powers of the new federal

government into three defined categories, legislative, executive and judicial, to assure, as nearly

as possible, that each Branch of government would confine itself to its assigned responsibility.”

INS v. Chadha, 462 U.S. 919, 951 (1983). Thus, the Constitution vests in Congress the exclusive

power to make laws. U.S. Const. art. I, § 1. And it requires the Executive to implement those laws.

U.S. Const. art. II, § 3 (providing that the President “shall take Care that the Laws be faithfully

executed”). “There is no provision in the Constitution that authorizes the President to enact, to

amend, or to repeal statutes.” Clinton v. City of New York, 524 U.S. 417, 438 (1998). Accordingly,

“it has been the case for centuries that neither the President, nor his executive branch, may

unilaterally refuse to carry out a congressional command.” Widakuswara v. Lake, 2025 WL

945869, at *6 (S.D.N.Y. Mar. 28, 2025); see Kendall v. U.S. ex rel. Stokes, 37 U.S. (12 Pet.) 524,

525 (1838) (“To contend that the obligation imposed on the President to see the laws faithfully

executed, implies a power to forbid their execution; is a novel construction of the constitution, and

entirely inadmissible.”); see also NTEU v. Nixon, 492 F.2d 587, 604 (D.C. Cir. 1974) (stating that

the President may not refrain from executing laws duly enacted by the Congress (citing Kendall)).

       Here, Defendants are flouting the law because they disagree with the very principle

underlying it. Under the Constitution, that disagreement does not provide a basis for Defendants

to refuse to follow the law.



                                                 8
      Case 1:25-cv-01051-EGS            Document 21        Filed 05/04/25      Page 15 of 23




       Defendants’ assertion that the 2023 Act impermissibly intrudes on the Executive’s “power

of administering [congressionally appropriated] funds,” Defs. Opp. 17, is profoundly incorrect.

Quite the opposite, one of Congress’s “most important” powers is its “exclusive power over the

purse.” U.S. Dep’t of Navy v. Fed. Lab. Rels. Auth., 665 F.3d 1339, 1346 (D.C. Cir. 2012) (citation

omitted). And “Congress has plenary power to exact any reporting and accounting it considers

appropriate in the public interest.” Harrington v. Bush, 553 F.2d 190, 195 n.7 (D.C. Cir. 1977).

Congress has exercised this plenary power by requiring agencies—including OMB—to publicly

disclose how they administer federal funds. See, e.g., Federal Funding Accountability and

Transparency Act, Pub. L. 109–282, 120 Stat. 1186 (2006) (requiring OMB to “ensure the

existence and operation of a single searchable website, accessible by the public at no cost to access,

that includes” information about federal financial assistance and spending); Digital Accountability

and Transparency Act of 2014, 31 U.S.C. § 6101 note (requiring additional disclosures on

USAspending.gov website). The 2023 Act’s requirement of public disclosure of the Executive’s

apportionment decisions concerning appropriated funds is thus both unexceptional and firmly

rooted in Congress’s constitutional authority to enact the law, including with respect to

appropriations. Defendants’ argument therefore gets things backwards: By defying the 2023 Act,

it is the Executive that is impermissibly intruding on Congress’s authority.

       2. As CREW has explained, see Pl. Mem. 13–14, Defendants’ claim of deliberative process

privilege likewise does not justify their refusal to comply with the 2023 Act. To begin with,

contrary to Defendants’ assertion, Defs. Opp. 18, the deliberative process privilege is not a

constitutional one. Rather, it is “primarily a common law privilege.” Protect Democracy Project,

Inc. v. NSA, 10 F.4th 879, 885 (D.C. Cir. 2021). And because “Congress may determine for itself

which [common law] privileges the Government may avail itself of and which it may not,” the



                                                  9
      Case 1:25-cv-01051-EGS            Document 21         Filed 05/04/25      Page 16 of 23




deliberative process privilege can be displaced by a statute enacted by Congress. U.S. Dep’t of

Just. v. Julian, 486 U.S. 1, 13 (1988); see also Wright & Miller, 23A Fed. Prac. & Proc. Evid.

§ 5437 (1st ed. Apr. 2025 update). Here, by requiring public disclosure without any privilege

exception, the 2023 Act reflects “a congressional policy choice in favor of disclosure of all

information.” United States v. Arthur Young & Co., 465 U.S. 805, 816 (1984) (emphasis removed).

        In any event, the apportionment information at issue does not fall within the scope of the

privilege. The deliberative process privilege “may only be invoked for documents that are both

predecisional and deliberative.” Reps. Comm. for Freedom of the Press v. FBI, 3 F.4th 350, 362

(D.C. Cir. 2021). “A document is predecisional if it was generated before the agency’s final

decision on the matter, and it is deliberative when it is prepared to help the agency formulate its

position, and it reflects the give-and-take of the consultative process.” Id. (cleaned up). The

apportionment documents are neither predecisional nor deliberative because they reflect final

decisions approved by OMB that are legally binding. See Pl. Mem. 13–14 (collecting citations).

        Defendants admit that apportionment decisions are “legally binding upon the Executive

Branch officials” and agencies. Defs. SOMF at 2; see Defs. Mem. 4, 19. They assert, however,

that the apportionment decisions are not “final” because OMB “remains free to change” its

decisions. Defs. Opp. 19. A document, however, is a “final” decision outside the scope of the

deliberative process privilege if it has “real operative effect”—that is, if it will lead to “direct and

appreciable legal consequences.” U.S. Fish & Wildlife Serv. v. Sierra Club, Inc., 592 U.S. 261,

271 (2021). Here, the apportionment decisions that must be disclosed under the 2023 Act have

real, operative effect under the Anti-Deficiency Act, including the prospect of criminal and

administrative penalties. See 31 U.S.C. §§ 1517–19. They are “not subject to the privilege, even if

[they] may be rendered obsolete by a subsequent pronouncement.” CREW v. USPS, 557 F. Supp.



                                                  10
      Case 1:25-cv-01051-EGS           Document 21        Filed 05/04/25     Page 17 of 23




3d 145, 157 (D.D.C. 2021) (cleaned up); see also Sackett v. EPA, 566 U.S. 120, 127 (2012) (“The

mere possibility that an agency might reconsider … does not suffice to make an otherwise final

agency action nonfinal”); Nat’l Env’t Dev. Ass’ns Clean Air Project v. EPA, 752 F.3d 999, 1006

(D.C. Cir. 2014) (“An agency action may be final even if the agency’s position is ‘subject to

change’ in the future.”).

       Finally, Defendants argue that complying with 2022 Act and 2023 Act law has prompted

them to omit certain information from apportionment documents, to avoid public disclosure of that

information. See Defs. Opp. 20–21. But see Bagenstos Decl. ¶ 7, ECF No. 9-4. That argument does

not advance their invocation of a deliberative process privilege; it is essentially a restatement of

their disagreement, on policy grounds, with Congress’s determination that the apportionment

information should be publicly and promptly disclosed. That policy disagreement does not excuse

compliance with the law.

       B. Defendants violated the Paperwork Reduction Act.

       Defendants’ removal of the Public Apportionments Database is also unlawful under two

provisions of the Paperwork Reduction Act.

       First, Defendants’ removal of the Public Apportionments Database is contrary to the

Paperwork Reduction Act’s requirement to provide the public with timely access to the

information. See 44 U.S.C. § 3506(d)(1); Pl. Mem. 16–17. Defendants do not dispute that the

apportionment information in the database is “public information” within the meaning of the

Paperwork Reduction Act, and they do not dispute that the information’s removal deprives the

public of timely access, as required by that statute. Defendants respond only that the apportionment

documents are exempt from disclosure under the deliberative process privilege. See Defs. Opp. 23.

That assertion, however, fails for the reasons discussed above.



                                                11
       Case 1:25-cv-01051-EGS         Document 21        Filed 05/04/25     Page 18 of 23




        Second, Defendants’ removal of the database is contrary to the Paperwork Reduction Act’s

requirement to “provide adequate notice when initiating, substantially modifying, or terminating

significant information dissemination products.” 44 U.S.C. § 3506(d)(3). Defendants do not

dispute that the Public Apportionments Database is a “significant information dissemination

product[]” within the meaning of the statute, and they admit that they provided “no notice or

explanation to the public prior to their removal of the Public Apportionments Database,” Defs.

SOMF at 4. Defendants assert, though, that their “failure to provide advance notice … was

harmless error” because they sent a letter to two Congressmembers five days after they removed

the database. Defs. Opp. 23. The Paperwork Reduction Act’s notice requirement, however, has no

harmless error exception. And the lack of notice was not, in any event, “harmless” because it

prevented CREW and other members of the public from engaging in advocacy to prevent the

takedown. Moreover, a letter sent to two Congressmembers five days after their action is not

“advance notice” to the public.

III.    If the Court does not enter partial summary judgment for CREW, a preliminary
        injunction is warranted.

        Because the merits of CREW’s challenge are clear and involve no disputed facts, this Court

should grant partial summary judgment on CREW’s APA claims for violation of the 2023 Act and

Paperwork Reduction Act. If, however, the Court concludes that partial summary judgment is

premature, it should enter a preliminary injunction requiring restoration of the Public

Apportionments Database while this litigation proceeds because CREW is correct on the merits,

CREW is suffering ongoing and irreparable injury, and the balance of the equities and public

interest strongly weigh in CREW’s favor.




                                                12
      Case 1:25-cv-01051-EGS            Document 21         Filed 05/04/25      Page 19 of 23




       A. CREW is suffering ongoing irreparable harm.

       CREW is suffering, and will continue to suffer, irreparable informational injury from

Defendants’ removal of public access to the Public Apportionments Database. “[A]n informational

injury can ‘be sufficient to establish irreparable harm if the information sought is time-sensitive.’”

Drs. for Am. v. OPM, -- F. Supp. 3d ---, 2025 WL 452707, at *9 (D.D.C. Feb. 11, 2025) (quoting

Sai v. Transp. Sec. Admin., 54 F. Supp. 3d 5, 10 (D.D.C. 2014)); see CREW v. U.S. DOGE Serv.,

-- F. Supp. 3d ---, 2025 WL 752367, at *14 (D.D.C. Mar. 10, 2025) (“Timely awareness is

… necessary because ‘stale information is of little value.’” (quoting Payne Enters. v. United States,

837 F.2d 486, 494 (D.C. Cir. 1988))).

       As CREW has explained, see Pl. Mem. 19–21, it urgently needs the apportionment

information for its work monitoring, disseminating information, and conducting advocacy on

ongoing and highly public issues involving government spending. For example, CREW uses the

apportionment information in the database to analyze and disseminate information about how

“DOGE” is funded and potential impoundments issues. See Wentworth Decl. ¶¶ 6–10, 18, 20.

These harms are not to the public at large, as Defendants assert, see Defs. Opp. 23–24, but rather

harms to CREW, whose work is impeded without timely access to this information.

       Defendants’ reliance on CREW v. US. DOGE Service is misplaced. In that FOIA case,

although the court stated that the plaintiff had not established irreparable harm to compel

disclosure of records by a date certain, see id. at *10, it also separately ruled that the plaintiff had

shown irreparable harm based on the “delay in processing its [FOIA] request on an expedited

basis,” 2025 WL 752367 at *14. In granting a preliminary injunction on that claim, the court

explained that “[i]f [it] does not grant preliminary relief to CREW, records responsive to the

[FOIA] request will not be released anytime soon, if ever,” and with that delay, the “information

may indeed be ‘stale,’ or at least, significantly less useful than it once was.” Id. Similarly, here,
                                                  13
      Case 1:25-cv-01051-EGS          Document 21        Filed 05/04/25      Page 20 of 23




because Defendants have refused to disclose the apportionment information at all, the denial of the

information is causing CREW irreparable harm because, if released only at the conclusion of this

litigation, the information will be stale and significantly less useful than if it had been timely

disclosed. See Wentworth Decl. ¶¶ 8–9, 14–15. For example, because many appropriated funds

are available for only a limited period of time, the denial of access within that time period to

apportionment information for those funds impedes CREW’s ability to monitor and analyze

potential impoundment in a timely manner. See id. ¶ 8.

       Defendants do not dispute that irreparable harm can result from obstacles to an

organization’s fulfilment of its mission. See Defs. Opp. 24 (citing League of Women Voters of U.S.

v. Newby, 838 F.3d 1 (D.C. Cir. 2016)). Rather, they assert that CREW has not made that showing

here because, according to Defendants, the information is accessible through other sources. As

CREW has explained, however, the Public Apportionments Database is the only publicly

accessible government source for OMB’s apportionment information. See Wentworth Decl. ¶¶ 9,

26. None of Defendants’ proposed alternatives for accessing apportionment information—through

FOIA requests, congressional reports on spending, or other agency reports—provides access to the

same information that was in the Public Apportionments Database, let alone on the same

timeframe. For example, FOIA permits an agency to redact information based on its assertion of

FOIA exemptions, and it does not require disclosure within two business days. And the OMB SF-

133 reports and the Treasury report that Defendants cite, see Defs. Opp. 25, do not include

information on each approved apportionment, including the footnotes showing restrictions or

conditions imposed by OMB, and also do not require disclosure within two business days. See

generally MAX Information and Reports (Executive, Legislative, and Judicial Users): FY 2025 -




                                                14
      Case 1:25-cv-01051-EGS          Document 21       Filed 05/04/25      Page 21 of 23




SF 133 Reports on Budget Execution and Budgetary Resources (collecting reports);6 U.S. Dep’t

of the Treasury, Financial Report of the United States Government: Fiscal Year 2024;7 see also

31 U.S.C. § 331(e)(1) (requiring an “annual” Treasury report with the “overall financial position”

for the Executive Branch). Thus, none of the sources that Defendants cite is a substitute for the

public disclosure required by the 2023 Act.

       Without timely access to the Public Apportionments Database, as required by the 2023

Act, CREW is impeded in its ability to monitor, advocate on, and disseminate information about

government spending issues and promote government transparency and accountability. That work

is not limited to monitoring apportionments to DOGE, as Defendants suggest; rather, CREW needs

access to all apportionment data. See Wentworth Decl. ¶¶ 6–10, 14–16, 27.

       B. The balance of the equities supports a preliminary injunction.

       As CREW has explained, see Pl. Mem. 21–25, the balance of the equities and the public

interest weigh decisively in favor of granting a preliminary injunction. The government “cannot

suffer harm from an injunction that merely ends an unlawful practice,” Open Cmtys. Alliance v.

Carson, 286 F. Supp. 3d 148, 179 (D.D.C. 2017) (citation omitted), and Defendants have not

offered evidence, or even suggested, that the government suffered harm from complying with the

law for approximately three years. See Defs. SOMF at 3–4 (agreeing that Defendants complied

with the requirements for approximately three years). On the public interest side of the balance,

restoring immediate access to the information would significantly serve the public interest by




       6
                https://portal.max.gov/portal/document/SF133/Budget/FACTS%20II%20-
%20SF%20133%20Report%20on%20Budget%20Execution%20and%20Budgetary%20Resourc
es.html.
       7
           https://www.fiscal.treasury.gov/files/reports-statements/financial-report/2024/01-16-
2025-FR-(Final).pdf.

                                               15
      Case 1:25-cv-01051-EGS            Document 21        Filed 05/04/25      Page 22 of 23




providing transparency into government funding decisions, allowing the public and Congress to

hold the government accountable for potential misuses of taxpayer funds. See Pls. Mem. 22–25.

       On this prong, Defendants argue only that an injunction requiring them to comply with the

law would result in an “unconstitutional infringement upon Executive power.” Defs. Opp. 26. As

explained above, supra II.A.1., that argument is wholly without merit.

IV.    A security bond would be inappropriate in this case.

       Defendants briefly suggest that, if the Court issues a preliminary injunction, it should

require CREW to post security under Federal Rule of Civil Procedure 65(c). The Court should

deny that request. Rule 65(c) “vest[s] broad discretion in the district court to determine the

appropriate amount of an injunction bond,” DSE, Inc. v. United States, 169 F.3d 21, 33 (D.C. Cir.

1999), “including the discretion to require no bond at all,” P.J.E.S. ex rel. Escobar Francisco v.

Wolf, 502 F. Supp. 3d 492, 520 (D.D.C. 2020).

       Here, where CREW’s claims do not seek the expenditure of money or monetary damages,

and the balance of equities strongly favors CREW, a bond would not be appropriate. See Nat’l

Council of Nonprofits v. OMB, -- F. Supp. 3d. ---, 2025 WL 597959, at *19 (D.D.C. Feb. 25, 2025)

(denying request for injunction bond); Pacito v. Trump, -- F. Supp. 3d. ---, 2025 WL 893530, at

*14 (W.D. Wash. Mar. 24, 2025) (denying injunction bond in a case involving expenditure of

money); Nat’l Ass’n of Diversity Officers in Higher Educ. v. Trump, -- F. Supp. 3d ---, 2025 WL

573764, at *29 (D. Md. Feb. 21, 2025) (setting a nominal bond of zero dollars because granting

the defendants’ request “would essentially forestall [the] [p]laintiffs’ access to judicial review”).

                                          CONCLUSION

       The Court should grant CREW’s motion and enter partial summary judgment or, in the

alternative, a preliminary injunction in favor of CREW.



                                                 16
     Case 1:25-cv-01051-EGS   Document 21     Filed 05/04/25       Page 23 of 23




Dated: May 4, 2025                 Respectfully submitted,

                                   /s/ Wendy Liu
                                   Wendy Liu (DC Bar No. 1600942)
                                   Adina H. Rosenbaum (DC Bar No. 490928)
                                   Allison M. Zieve (DC Bar No. 424786)
                                   Public Citizen Litigation Group
                                   1600 20th Street NW
                                   Washington, DC 20009
                                   (202) 588-1000
                                   wliu@citizen.org

                                   Nikhel S. Sus (DC Bar No. 1017937)
                                   Yoseph T. Desta (DC Bar No. 90002042)*
                                   Citizens for Responsibility and Ethics in Washington
                                   1331 F Street NW, Suite 900
                                   Washington, DC 20004
                                   (202) 408-5565
                                   nsus@citizensforethics.org
                                   ydesta@citizensforethics.org

                                          *admitted pro hac vice

                                   Counsel for Plaintiff




                                     17
